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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater       *    MDL NO. 2179
    Horizon” in the Gulf of Mexico, on           *
    April 20, 2010                               *    SECTION: J
                                                 *
This document relates to:                        *
                                                 *    HONORABLE CARL J. BARBIER
Actions within B3 Pleading Bundle                *
                                                 *    MAGISTRATE JUDGE SHUSAN
and                                              *
                                                 *
12-968, Plaisance, et al. v. BP                  *
Exploration& Production Inc., et al.             *



MOTION TO APPORTION ATTORNEY FEES, FOR INJUNCTIVE RELIEF, AND FOR
DAMAGES DERIVED FROM CLAIMS SUBMITTED PURSUANT TO THE MEDICAL
          BENEFITS CLASS ACTION SETTLEMENT AGREEMENT
              IN ACCORDANCE WITH SECTION XXVII, and
      MOTION TO STAY PENDING FLORIDA STATE COURT ACTION

       NOW INTO COURT, come Jason L. Melancon, Melancon | Rimes, LLC, Marx D.

Sterbcow, and Sterbcow Law Group, LLC (collectively referred to hereafter as

“PETITIONERS”). Jason L. Melancon (“MELANCON”) is the managing partner of Melancon |

Rimes, LLC (“MR”), a Louisiana law firm.             Marx D. Sterbcow (“STERBCOW”) is the

managing partner of Sterbcow Law Group, LLC (“SLG”), also a Louisiana law firm.

PETITIONERS respectfully aver as follows:

                                       INTRODUCTION

                                                1.

       This motion to apportion attorney fees, for injunctive relief, and for damages arises from

a dispute between two Louisiana attorneys, their respective law firms, and a Florida law firm (i.e.

Downs Law Group, P.A.) (“DOWNS GROUP”) and its individual partner Craig T. Downs


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(“CRAIG DOWNS”) and associates Jeremy Friedman (“FRIEDMAN”) and Daniel Perez

(“PEREZ”). The dispute concerns the agreed upon sharing of attorney fees received from

individuals who submitted claims pursuant to the DEEPWATER HORIZON MEDICAL

BENEFITS       CLASS      ACTION        SETTLEMENT         AGREEMENT           (“SETTLEMENT

AGREEMENT”). The dispute concerns a written attorney fee sharing agreement and/or the

entitlement to attorney fees arising from client executed contingency fee agreement expressly

identifying active counsel as DOWNS, MELANCON, and STERBCOW.

                                               2.

       As pertaining to the motion to stay the Florida state court action, prior to the

SETTLEMENT AGREEMENT becoming final and definitive on February 13, 2014,

PETITIONERS filed a complaint in Florida state court.         Sterbcow Law Group, LLC and

Melancon | Rimes, LLC v. The Downs Law Group, P.A., Craig T. Downs, Jeremy Friedman, and

Daniel Perez, 11th Judicial District Circuit, County of Miami-Dade, State of Florida. See Exhibit

“A.” Section XXVII of the SETTLEMENT AGREEMENT now provides that this Honorable

Court has exclusive jurisdiction over all parties, medical benefits class members, and their

counsel with respect to all disputes concerning the implementation and enforcement of the

SETTLEMENT AGREEMENT. PETITIONERS seeks an order staying the Florida litigation

considering this Honorable Court’s exclusive and ancillary jurisdiction over attorney fee

disputes.

                                               3.

       By way of background, members of the DOWNS GROUP initially reached out to SLG

and MR for assistance in marketing and in signing Louisiana residents as medical claims benefit

clients, who were reportedly suffering from those conditions identified in the SETTLEMENT



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AGREEMENT. DOWNS GROUP further requested that MR and SLG act as pro hac vice

sponsor for DOWNS GROUP in an effort to object to the proposed SETTLEMENT

AGREEMENT. DOWNS GROUP further requested that MELANCON personally stand before

this Honorable Court to orally address those objections presented, to which request

MELANCON complied.

                                                4.

       DOWNS GROUP further pursued PETITIONERS’ assistance during the medical claims

benefits process because Florida law prevented DOWNS GROUP from advancing medical costs

for those clients needing medical evaluations before claim submission, whereas Louisiana law

did not proscribe such prohibitions against Louisiana attorneys.

                                                5.

       DOWNS GROUP further requested access to MR’s and SLG’s Louisiana offices for

client meetings located in South Louisiana. SLG provided supplies and refreshments for all

client meetings.

                                                6.

       DOWNS GROUP eventually hired a non-Louisiana licensed attorney, who worked every

day at SLG’s offices, primarily on the BP medical claims benefits clients. DOWNS GROUP

never paid any remuneration for the constant use of SLG’s office space.

                                                7.

       The DOWNS GROUP employee informed STERBCOW that DOWNS GROUP was

advancing medical costs for many Louisiana based clients, and DOWNS GROUP consistently

used the offices of SLG and MR to sign contingency fee agreement with Louisiana based clients.




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                                               8.

       In exchange for the efforts of MR and SLG, DOWNS GROUP proposed a written

attorney fee sharing arrangement whereby MR and SLG would receive compensation totaling a

percentage of recovery obtained by DOWNS GROUP equivalent to the amount of 10% of the

total recovery for all clients who submitted a medical benefits claim pursuant to the

SETTLEMENT AGREEMENT.

                                               9.

       In accordance with the agreement, DOWNS GROUP drafted and executed contingency

fee contracts with thousands of mutual clients, which contracts expressly included “Jason L.

Melancon, Esq.” and “Marx D. Sterbcow, Esq.” as active counsel. MR and SLG dutifully

performed all requested tasks in accordance with active co-counsel status.

                                               10.

       On September 24, 2013, while working at the office of SLG, the DOWNS GROUP

employee provided STERBCOW with the first list of mutual clients spanning over 1,700 names.

Around early October 2013, the DOWNS GROUP employee notified STERBCOW that

DOWNS GROUP might not share the attorney fees derived from those medical benefit claims

submitted pursuant to the SETTLEMENT AGREEMENT with MR and SLG.

                                               11.

       Accordingly, MR requested via email a list of mutual clients. DOWNS GROUP only

provided a list of 73 names. When MR and SLG confronted DOWNS GROUP about the

discrepancy, DOWNS GROUP indicated that PETITIONERS were not co-counsel for over

1,700 mutual clients, and possibly over 1,000 Louisiana residents. Emails provided from the

DOWNS GROUP employee showed a subsequent conspiracy by CRAIG DOWNS,



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FRIEDMAN, AND PEREZ to send out letters advising the mutual clients that MELANCON and

STERBCOW were not co-counsel, despite being expressly identified on the contingency fee

contracts. The emails further expressed the intent to have all clients execute new contingency

fee agreements without MELANCON and STERBCOW identified on same.

                                                 12.

          PETITIONERS submit that DOWNS GROUP fraudulently induced MR and SLG to

enter into a co-counsel arrangement. DOWNS GROUP sought to obtain the legal and practical

benefits of marketing and signing over 1,000 Louisiana resident clients without any real

expectation of ultimately fulfilling its contractual obligations.

                                                 13.

          MR and SLG seek to enforce (1) the terms of the written co-counsel agreement or (2) the

underlying contingency fee contracts, thereby rightfully sharing in their portion of those attorney

fees derived from the medical benefits claims process set forth in the SETTLEMENT

AGREEMENT. In the alternative, MR and SLG seeks to have the DOWNS GROUP stricken as

counsel of record for all Louisiana clients given their unauthorized practice of law in marketing

and signing Louisiana residents and further holding an office space in Louisiana without a

licensed Louisiana attorney; thereby naming MR and SLG as the exclusive counsel of record for

all Louisiana client.     Finally, MR, SLG, MELANCON, and/or STERBCOW further seek

compensatory, statutory, and punitive damages and attorney fees and costs as otherwise provided

by law.




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                                        PARTIES

                                            14.

       Jason L. Melancon (“MELANCON”) is a named plaintiff herein. He is domiciled in the

State of Louisiana, and manages the plaintiff law firm of Melancon | Rimes, LLC (“MR”), a

Louisiana limited liability company.

                                            15.

       Marx D. Sterbcow (“STERBCOW”) is a named plaintiff herein. He is domiciled in the

State of Louisiana, and manages the plaintiff law firm of Sterbcow Law Group, LLC (“SLG”), a

Louisiana limited liability company.

                                            16.

       Craig T. Downs (“CRAIG DOWNS”) is a named defendant herein. He is domiciled in

the State of Florida, and manages the defendant law firm of Downs Law Groups, P.A.

(“DOWNS GROUP”), a Florida based company.

                                            17.

       Jeremy Friedman (“FRIEDMAN”) is a named defendant herein. He is domiciled in the

State of Florida, and is an associate with defendant DOWNS GROUP.

                                            18.

       Daniel Perez (“PEREZ”) is a named defendant herein. He is domiciled in the State of

Florida, and is an associate with defendant DOWNS GROUP.




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                                        JURISDICTION

                                                19.

       Exclusive jurisdiction is before the Eastern District of Louisiana pursuant to Section

XXVII of the SETTLEMENT AGREEMENT. On or about February 13, 2014, the remaining

appeal related to the SETTLEMENT AGREEMENT was dismissed before the United States

Fifth Circuit Court of Appeals; therefore, the SETTLEMENT AGREEMENT became final and

definitive and thus regulates all matters pertaining to the medical benefits claims process. The

SETTLEMENT AGREEMENT provides that this Honorable Court shall retain continuing and

exclusive jurisdiction over the parties and their counsel and all medical benefits class members

with respect to the terms of the medical settlement agreement. The agreement further provides

that any disputes or controversies arising out of or related to the administration or enforcement of

the SETTLEMENT AGREEMENT shall be made by motion to the Court.

                                                20.

       It is well settled that a federal court may resolve controversies over attorneys' fees when

the dispute arises from litigation before it, under both the court's ancillary jurisdiction and its

inherent power to regulate attorneys who practice before it. See, e.g., Cluett, Peabody & Co. v.

CPC Acquisition Co., 863 F.2d 251 (2d Cir.1988); Pay Television of Greater New York, Inc. v.

Sheridan, 766 F.2d 92 (2d Cir.1985); American Federation of Tobacco–Growers v. Allen, 186

F.2d 590 (4th Cir.1951); Iowa v. Union Asphalt & Roadoils, Inc., 409 F.2d 1239 (8th Cir.1969);

Jenkins v. Weinshienk, 670 F.2d 915 (10th Cir.1982). This jurisdiction continues even after the

original dispute has gone to judgment or been settled. Novinger v. E.I. DuPont de Nemours &

Co., 809 F.2d 212 (3d Cir.), cert. denied, 481 U.S. 1069, 107 S.Ct. 2462, 95 L.Ed.2d 871 (1987);

Sherrier v. Richard, 600 F.Supp. 527 (S.D.N.Y.1984). In addition, where the dispute concerns



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fees to be paid out of proceeds of the litigation, the court's ancillary jurisdiction arises from its

authority to control the distribution of those proceeds. See, e.g., Grimes v. Chrysler Motors

Corp., 565 F.2d 841 (2d Cir.1977).

                                  FACTUAL BACKGROUND

                                                21.

       In or around August, 2012, FRIEDMAN of DOWNS GROUP contacted STERBCOW of

SLG regarding a possible co-counsel arrangement. FRIEDMAN advised STERBCOW that

DOWNS GROUP signed several Spanish speaking Florida residents as clients. These clients

experienced medical problems after working the BP clean-up operation.

                                                22.

       FRIEDMAN advised STERBCOW that DOWNS GROUP wanted to market and to sign

Spanish speaking Louisiana residents that also worked in the BP clean-up operation.

FRIEDMAN asked STERBCOW whether he would be interested in helping them not only

secure Louisiana residents as clients, but also whether STERBCOW would assist them in

obtaining pro hac vice status in the above captioned matter.

                                                23.

       STERBCOW of SLG reached out to MELANCON of MR about working with DOWNS

GROUP.      STERBCOW and MELANCON worked on a number of cases in co-counsel

arrangements, with MELANCON generally handling the direct litigation efforts. MELANCON

agreed to work on the medical benefits claims with STERBCOW and left to STERBCOW the

contractual negotiations with DOWNS GROUP.




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                                               24.

       Ultimately, STERBCOW reached an agreement with DOWNS GROUP’ representatives

regarding the work to be performed by MR and SLG in exchange for a percentage of the

recovery from all medical benefits clients signed by DOWNS GROUP. After verbal discussions,

on or about August 26, 2012, FRIEDMAN of DOWNS GROUP solely drafted and emailed

STERBCOW of SLG a proposed “attorney participation agreement.” See Exhibit “B.” The

agreement outlined the roles performed by MR and SLG and provided MR and SLG with 10% of

any recovery obtained from the medical benefits claims process. STERBCOW executed the

contract in writing, while MELANCON agreed to its terms in a separate email. See Exhibit “C.”

Although DOWNS GROUP’ representatives now claim to have never agreed to these terms and

intentionally refused to execute the contract it delivered, nevertheless, DOWNS GROUP’

representatives ratified the agreement by performance of same.

                                               25.

       The “attorney participation agreement” further memorialized the obligation by MR and

SLG to sponsor Craig Down, FRIEDMAN, and PEREZ and/or other employees or agents of

DOWNS GROUP for pro hac vice status before this Honorable Court. DOWNS GROUP agents

further expressed their intention to market Louisiana residents through print, yard sign, and radio

advertisements given MR’s and SLG’s direct participation. DOWNS GROUP agents requested

that MR and SLG provides their office for the purposes of signing contingency fee contracts with

Louisiana residents. DOWNS GROUP agents discussed Florida limitations on paying advanced

medical costs, where the claims process required proof of ailments, and MR and SLG right to

pay such advanced costs under Louisiana law.




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                                                    26.

        Following execution of the “attorney participation agreement,” DOWNS GROUP agents

further placed the names of MELANCON and STERBCOW on each contingency fee contract

executed with each medical benefits client through sometime around November of 2013. See

Exemplar Contingency Fee Contracts attached as Exhibit “D” and “E.”

                                                    27.

        Following execution of the “attorney participation agreement,” PETITIONERS dutifully

performed all obligations as set forth in said agreement. In fact, PETITIONERS far surpassed

the scope of their representation as set forth in same. For example, MELANCON spoke on

behalf of certain objectors at the fairness hearing for the SETTLEMENT AGREEMENT.

                                                    28.

        MR and SLG agreed to assist DOWNS GROUP, in particular with respect to marketing

and to signing Louisiana residents, because Louisiana Supreme Court Rule XVII §13(B)(7)

prohibited DOWNS GROUP from actively soliciting Louisiana residents without a co-counsel

arrangement. Section 13(B)(7) entitled “No Solicitation” provides that no out-of-state attorney is

authorized to hold himself out, to non-lawyers who have not requested the out-of-state lawyer’s

presence, as available to assist in potential suits; and out-of-state attorneys may not solicit,

advertise, or otherwise hold themselves out in publications directed solely to this state as

available to assist in litigation in this state.

                                                    29.

        To the extent that DOWNS GROUP actively solicited Louisiana residents without having

MR and SLG act as co-counsel of record, which DOWNS GROUP now contends, DOWNS

GROUP, CRAIG DOWNS, FRIEDMAN, and PEREZ violated Louisiana Supreme Court Rule



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XVII §13(B)(7), and, therefore, engaged in the unauthorized practice of law in Louisiana by

actively soliciting Louisiana residents as client in both print and radio advertising.

                                                 30.

         Eventually, DOWNS GROUP representatives requested that SLG provide its New

Orleans area law office not only for the purpose of meeting with clients, but also to staff said

office with a full-time Spanish speaking attorney employee, Amled Perez. This DOWNS

GROUP employee was not licensed to practice law in the State of Louisiana. Perez Depo. 16:1-

16:25.

                                                 31.

         MR and SLG agreed to assist DOWNS GROUP with providing its employee with SLG’s

New Orleans area law office because pursuant to Louisiana Rules of Professional Responsibility

Rule 5.5 entitled “Unauthorized Practice of Law; Multijurisdictional Practice of Law,” a lawyer

not admitted to practice in Louisiana shall not establish an office or other systematic and

continuous presence in Louisiana for the practice of law.

                                                 32.

         To the extent that DOWNS GROUP instructed its employee to establish an office or

other systematic or continuous presence in this jurisdiction for the purpose of signing Louisiana

residents without SLG and MR acting as co-counsel, which DOWNS GROUP now contends,

DOWNS GROUP, CRAIG DOWNS, FRIEDMAN, and PEREZ violated Louisiana Rules of

Professional Responsibility Rule 5.5, and, therefore, engaged in the unauthorized practice of law

in Louisiana.




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                                                33.

       The DOWNS GROUP employee eventually informed STERBCOW that DOWNS

GROUP did not consider MR, SLG, STERBCOW, or MELANCON as co-counsel on all

medical benefits claims cases. MELANCON issued an email requesting a listing of all mutual

clients to date. DOWNS GROUP replied with a list of only 73 clients. The DOWNS GROUP

contractor worker provided a listing of all medical claims benefit employees, including over

1,000 Louisiana residents. See Exhibit “F.”

                                                34.

       After DOWNS GROUP representatives confirmed in writing that they would not honor

the “attorney participation agreement,” MR, SLG, STERBCOW, and MELANCON retained a

Florida attorney to file a state court proceeding in Florida. During the pendency of the Florida

litigation, the final appeal of the medical benefits SETTLEMENT AGREEMENT was

dismissed. This dismissal made the SETTLEMENT AGREEMENT the governing instrument

over all facets of the medical claims benefits process.

                                                35.

       MR, SLG, STERBCOW, and MELANCON file the instant motion to have this

Honorable Court resolve the underlying dispute under its exclusive jurisdiction. PETITIONERS

seek to have this Court decide the attorney fee apportionment, issue an injunction against

remitting any attorney fees until resolution of said dispute, and to further render judgment for

compensatory, statutory, and/or punitive damages as permitted by any applicable Louisiana,

Florida, or federal law.




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                             LEGAL THEORIES OF RECOVERY

   COUNT ONE: ENFORCEMENT OF CONTINGENCY FEE AGREEMENTS AND

                 BREACH OF JOINT VENTURE AND FIDUCIARY DUTY

                                                  38.

       The contingency fee agreement and/or “attorney participation agreement” constitute a

joint venture between DOWNS GROUP and MR and SLG. Co-joint venturers owe fiduciary

duties towards one another. PETITIONERS seek to enforce the contingency fee agreements and

allege that DOWNS GROUP, through its defendant agents, breached the joint venture and

fiduciary duties relative to same.

                                                  39.

       MR, SLG, STERBCOW, and MELANCON seek compensatory damages in the amount

of attorney fees derived from the contingency fee agreement, or, in the alternative, the “attorney

participation agreement,” against DOWNS GROUP for violations of those Florida and Louisiana

state laws governing joint ventures and fiduciary duties.

                          COUNT TWO: BREACH OF CONTRACT

                                                  36.

       In the alternative, DOWNS GROUP breached the “attorney participation agreement” by

refusing to remit the agreed upon compensation as defined by paragraph two of this agreement

relating to all medical claims benefit clients arising under the SETTLEMENT AGREEMENT

and by unilaterally terminating said contract.




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                                                37.

       In the alternative, MR, SLG, STERBCOW, and MELANCON seek compensatory

damages against DOWNS GROUP for violations of those Florida and Louisiana state laws

governing breach of contract.

 COUNT THREE: TORTIOUS INTERFERENCE WITH BUSINESS RELATIONSHIP
                                                40.

       In addition to the “attorney participation agreement,” DOWNS GROUP drafted each

contingency fee executed by mutual clients. Each contingency fee contract expressly identified

“Jason L. Melancon, Esq.” and “Marx D. Sterbcow, Esq.” as co-counsel with respect to the BP

medical claims benefits class members, thereby engaging PETITIONERS as active co-counsel.

                                                41.

       An email dated October 22, 2013 evidences internal discussions between DOWNS

GROUP agents, including CRAIG DOWNS, FRIEDMAN, and PEREZ, to notify the mutual

clients in writing for the purpose of stating that MR, SLG, STERBCOW, and/or MELANCON

were not the medical benefits class members’ attorneys. See Exhibit “G.” To the extent that

DOWNS GROUP and its defendant agents notified the mutual clients of same, said act

constitutes a knowing and wanton attempt to tortuously interfere with the business relationship

with said jointly represented clients.        DOWNS GROUP also removed the names of

MELANCON and STERCOW from future contingency fee agreements. See Exhibit “H.”

                                                42.

       MR, SLG, STERBCOW, and MELANCON seek compensatory, statutory, and punitive

damages, along with attorney fees and costs, against DOWNS GROUP, CRAIG DOWNS,

FRIEDMAN, and PEREZ, for violations of those Florida and Louisiana state laws governing the

tortious interference with business relationships.

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                       COUNT FOUR: UNFAIR TRADE PRACTICES

                                                43.

       DOWNS GROUP and its defendant agents, including CRAIG DOWNS, FRIEDMAN,

and PEREZ, fraudulently and knowingly induced MR, SLG, STERBCOW, and MELANCON to

assist defendants for the purpose of circumventing Louisiana’s prohibitions against out-of-state

attorney marketing and signing Louisiana clients.

                                                44.

       DOWNS GROUP and its defendant agents, including CRAIG DOWNS, FRIEDMAN,

and PEREZ, fraudulently and knowingly induced MR, SLG, STERBCOW, and MELANCON to

assist defendants for the purpose of circumventing Louisiana’s prohibitions against out-of-state

attorney establishing an office or other systematic and continuous presence in this jurisdiction for

the practice of law.

                                                45.

       DOWNS GROUP and its defendant agents, including CRAIG DOWNS, FRIEDMAN,

and PEREZ, fraudulently and knowingly induced MR, SLG, STERBCOW, and MELANCON to

assist in securing Louisiana residents as clients with full knowledge that they never intended to

share in any attorney fees subsequently derived from all mutual Louisiana residents.

                                                46.

       MR, SLG, STERBCOW, and MELANCON seek compensatory, statutory, and punitive

damages, along with attorney fees and costs, for violations of those Florida and Louisiana state

laws governing unfair trade practices and fraudulent practices.




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                            COUNT FIVE: INJUNCTIVE RELIEF

                                                 47.

       PETITIONERS have been co-counsel pursuant to either the “attorney participation

agreement” or the underlying contingency fee agreements themselves.

                                                 48.

       Now that the SETTLEMENT AGREEMENT is both final and definitive, all qualifying,

mutual medical claims benefit class member clients are entitled to receive settlement

determinations and payments from said SETTLEMENT AGREEMENT, with all attorney fees

derived from said payments.

                                                 49.

       Defendants have collectively prevented PETITIONERS from rightfully sharing in their

proper apportionment of attorney fees.          With approximately 1,700 total mutual clients,

PETITIONERS have no adequate recourse to these earned fees but for injunctive relief;

therefore, establishing irreparable harm without injunctive relief relative to said fees.

                                                 50.

       MR, SLG, STERBCOW, and MELANCON seek injunctive relief requiring the

preservation of all attorney fees derived from all medical claims benefits paid until such time as

this Honorable Court apportions those attorney fees. PETITIONERS seek injunctive relief

requiring the deposition of disputed attorney fees into an interest bearing banking account until

said resolution of same. PETITIONERS do not wish to hold up any settlement payments, save

those reserved attorney fees, to the underlying mutual clients.




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WHEREFORE, PETITIONERS pray for the following relief:

   A. That the Eastern District of Louisiana issue an order permanently enjoining and staying

      the prior filed Florida state court action where this Honorable Court has exclusive and

      ancillary jurisdiction over attorney fee disputes arising over attorney fee allocations

      derived from the MEDICAL CLAIMS BENEFITS SETTLEMENT AGREEMENT.

   B. That the Eastern District of Louisiana conduct an evidentiary hearing and issue judgment

      thereafter declaring the proper apportionment of attorney fees between Melancon |

      Rimes, LLC, Sterbcow Law Group, LLC, Jason L. Melancon, Marx D. Sterbcow, and the

      Downs Law Group, P.A for all medical claims benefit clients.

   C. That there be further judgment rendered herein awarding statutory and/or punitive

      damages against the Downs Law Group, P.A. and its defendant agents Craig T. Downs,

      Jeremy Friedman, and Daniel Perez, as otherwise permitted under any Louisiana, Florida,

      or federal law.

   D. That there be judgment rendered herein further awarding attorney fees and costs against

      Downs Law Group, P.A. and its defendant agents Craig T. Downs, Jeremy Friedman, and

      Daniel Perez, as otherwise permitted under any Louisiana, Florida, or federal law.

   E. In the alternative, that there be judgment rendered herein extinguishing the contingency

      fee contracts between the Downs Law Group, P.A. and/or its defendant agents Craig T.

      Downs, Jeremy Friedman, and Daniel Perez for the unauthorized practice of law in

      Louisiana, and thereby appointing the law firms Melancon | Rimes, LLC and Sterbcow

      Law Group, LLC to solely and to exclusively act on behalf of those Louisiana clients,

      only, and to apportion all attorneys fees derived from the Louisiana clients to the law

      firms of Melancon | Rimes, LLC and Sterbcow Law Group, LLC exclusively.



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Respectfully Submitted:
Melancon | Rimes                           Sterbcow Law Group, LLC


s/ Jason L. Melancon                       s/ Marx D. Sterbcow
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater       *     MDL NO. 2179
    Horizon” in the Gulf of Mexico, on           *
    April 20, 2010                               *     SECTION: J
                                                 *
This document relates to:                        *
                                                 *     HONORABLE CARL J. BARBIER
Actions within B3 Pleading Bundle                *
                                                 *     MAGISTRATE JUDGE SHUSAN
and                                              *
                                                 *
12-968, Plaisance, et al. v. BP                  *
Exploration& Production Inc., et al.             *



                                CERTIFICATE OF SERVICE

       I hereby certify that in accordance with the Eastern District of Louisiana’s electronic

filing procedures, this document has been electronically filed. A Notice of Electronic Filing will

be sent by the Court to all counsel of record who have consented to email notification and

electronic service. This document is available for viewing and downloading from the Court’s

ECF system. Service to all known counsel of record who have not consented to email

notification and electronic service has been made via U.S. Mail, postage prepaid.

       Signed this 13th day of March, 2014 at Baton Rouge, LA.


                                                           s/Jason L. Melancon




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